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                           UNITED STATES DISTRICT COURT
                               DISTRICT OF COLUMBIA

FRIENDS OF THE EARTH, HEALTHY
GULF, SIERRA CLUB, and CENTER FOR                   Case No. 21-cv-02317-RDM
BIOLOGICAL DIVERSITY,

                      Plaintiffs,

       v.

DEBRA A. HAALAND, in her official capacity
as Secretary of the Interior; LAURA DANIEL-
DAVIS, in her official capacity as Assistant
Secretary of the Interior for Land and Mineral
Management; U.S. DEPARTMENT OF THE
INTERIOR; and BUREAU OF OCEAN
ENERGY MANAGEMENT,

                      Defendants,

STATE OF LOUISIANA,

                      Intervenor-Defendant.



                        DECLARATION OF HALLIE TEMPLETON

I, Hallie Templeton, declare as follows:

       1.      I have personal knowledge of the matters asserted in this declaration, and if called

upon to testify would state the same.

       2.      I am the Deputy Legal Director for Friends of the Earth (FoE), a 501(c)(3) non-

profit, membership-based organization with offices located in Berkeley, California and

Washington, D.C. FoE currently has over 4.5 million activists and over 280,000 members,

located across all 50 states and the District of Columbia. FoE’s primary mission is to defend the
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environment and champion a more healthy and just world by collectively ensuring environmental

and social justice, human dignity, and respect for human rights and peoples’ rights.

       3.      In furtherance of FoE’s mission, its board members, staff, members, and activists

are dedicated to fighting climate change and advocating for clean energy alternatives. FoE’s

Climate & Energy and Oceans & Vessels programs directly engage in administrative and

legislative advocacy, and litigation when needed, to protect the environment and society from

climate change, pollution, and industrialization associated with fossil fuel development and

greenhouse gas emissions. Key to this work is fighting to reduce greenhouse gas emissions and

domestic reliance on fossil fuels, and advance clean energy. To this end, we pay close attention

to federal decisions related to oil and gas lease sales, with an interest in ensuring compliance

with pertinent federal laws, such as the National Environmental Policy Act and the

Administrative Procedure Act. In this instance, we are particularly concerned that the

Department of Interior violated these laws by failing to fully and rationally evaluate the impacts

from greenhouse gas emissions that will result from Lease Sale 257 in the Gulf of Mexico.

       4.      FoE board members, staff, members, and activists use and enjoy federal public

lands and waters implicated by Lease Sale 257 in the Gulf of Mexico. Their uses include

recreational, commercial, and subsistence activities such as wildlife viewing, photography,

paddling, swimming, meditating, fishing, and clamming and other shellfish harvesting. Their

enjoyment of these activities is heavily dependent on the health, abundance, and protection of the

surrounding ecosystem.

       5.      Oil and gas activity in the Gulf of Mexico already is harming the interests of

FoE’s board members, staff, members, and activists. For example, one FoE member located in

Brownsville, Texas routinely visits the coast with his family to swim, surf, fish, and observe



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wildlife. Their experience has been diminished by the noise and pollution created by oil and gas

operations.

       6.      FoE and its board members, staff, members, and activists are also harmed by the

significant impacts of climate change, which are caused in part by federal fossil fuel leasing and

development, including from the exploration, extraction, and combustion of the substantial

amount of oil and gas coming out of the Gulf of Mexico, where the majority of domestic

offshore drilling activity occurs. Rising sea levels and increased storm activity caused by climate

change are directly related to the work that FoE does through its Ocean & Vessels and Climate &

Energy programs. Sea level change, storm intensity, and other effects of climate change also

affect our board, staff, members, and activists who live, work, and recreate in coastal areas. In

recent years, climate change has been linked to myriad problems affecting the health and vitality

of the Gulf of Mexico, including but not limited to, coral die-off; exacerbated Harmful Algal

Blooms like the red tide; destruction of habitat and populations of fisheries, marine mammals,

and other wildlife; increased hurricane activity; heightened levels of flooding; accelerated

erosion; loss of wetlands and low-lying terrestrial ecosystems; and seawater intrusion into

freshwater sources. Rising temperatures also shorten viable growing seasons globally, which are

directly related to the work of our Food & Agriculture program.

       7.      Since its inception in 1969, FoE has been dedicated to the reduction of

greenhouse gas emissions and domestic reliance on fossil fuels, as well as the advancement of

clean energy. To this end, we have been strong proponents of the “Keep It In The Ground” and

“Protect All Our Coasts” coalition campaigns, which aim to protect public lands and waters from

fossil fuel extraction. Our work toward this goal includes organizing and hosting direct-action

events, legislative advocacy and policy analysis, government scrutiny and accountability,



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publications of reports and easy-to-read fact sheets to help educate the public, as well as other

communications, outreach, and social media. We have challenged lease sales across the country

through letters of protest as well as litigation where necessary. Recent challenges include lease

sales in Bakersfield, Kern County, California; the Arctic National Wildlife Refuge; and the

National Petroleum Reserve-Alaska. Lease Sale 257—at issue in this case—in federal waters of

the Gulf of Mexico is of significant concern to FoE.

       8.      Friends of the Earth is an outspoken proponent of protecting the Central and

Western Gulf of Mexico Planning Areas from ongoing and expanded fossil fuel leasing and

ensuring a just transition for the communities most impacted by the fossil fuel industry. Since my

employment with FoE began in 2017, I have worked to support our partners in the Gulf by

lobbying members of Congress to introduce legislation that would stop new lease sales for

offshore drilling in the Gulf and issuing press statements to amplify the message that the Gulf

needs protection when it is omitted from legislative packages to end offshore drilling in other

regions. FoE is also a plaintiff in ongoing litigation over federal actions that enable oil and gas

development to persist in the Gulf in ways that risk future oil spills and further harms the Gulf’s

species and habitats. We are currently challenging the Bureau of Safety and Environmental

Enforcement’s 2019 rollback of the Well Control and Blowout Preventer Rule, a series of

offshore drilling safety regulations that were put in place after the 2010 Deepwater Horizon oil

spill disaster in the Gulf of Mexico. We are also challenging the National Marine Fisheries

Service’s 2020 issuance of a Biological Opinion that relies on faulty analyses and inadequate

mitigation measures to allow harm to endangered and threatened species from expanded offshore

drilling throughout the Gulf of Mexico.




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       9.      Friends of the Earth has spent a significant organizational effort advocating for a

pause on new oil and gas leases and an overhaul of the federal leasing program. Since November

1, 2020, we collected more than 45,000 petition signatures in support of pausing oil and gas

leasing on federal lands and waters. We joined a December 15, 2020 letter to President Biden

from 574 organizations calling for a day-one Executive Order placing a pause on new oil and gas

leasing. Finally, on January 25, 2021, we issued a joint press statement in advance of the

anticipated Executive Order (EO) at issue in this matter with quotes and impressions from

various organizations and frontline communities that are impacted by oil and gas extraction. On

January 27, 2021, President Biden issued and Executive Order that placed a temporary pause on

additional oil and gas leasing in the Gulf and elsewhere pending the completion of a

programmatic study on the myriad problems associated with further oil and gas leasing and fossil

fuel extraction from federal public lands and waters. FoE remains supportive of the pause and

programmatic study, and has been involved in litigation in Louisiana and Wyoming to support

the pause.

       10.     It is of paramount importance that federal officials fully understand and analyze

the array of environmental and socio-economic harms of fossil fuel extraction before holding

another oil and gas lease sale. For example, federal officials must ensure that they are relying on

accurate estimates for the global greenhouse gas emissions associated with the proposed sale and

associated activities. They must also take into consideration new information such as recent

knowledge about climate change; expansion of the industry into deeper water; impacts to

endangered species; wind energy potential and conflicts; and last but certainly not least, the

increased and disproportionate harm to frontline, Black, Indigenous, People of Color, and other

disenfranchised communities in the region.



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       11.     The Bureau of Ocean Energy Management made a decision to hold Lease Sale

257 based on an outdated and flawed analysis that failed to accurately estimate the greenhouse

gas emissions and climate change impacts of offering this lease sale, failed to analyze any of the

significant new information about the effects of oil and gas leasing on the environment, species,

or communities in the Gulf, and did not consider or ensure adequate measures to protect the

climate, nearby communities, and natural resources and ecosystems. The Bureau’s decision to

allow continued and increased oil and gas leasing in federal waters in the Gulf of Mexico without

understanding this information harms FoE’s interests, as well as those of its board members,

staff, members, and activists both by allowing further harm to the Gulf ecosystem from drilling,

but also by depriving them of accurate, high-quality information necessary to advocate for

protections that would alleviate these harms. It also significantly delays and degrades the federal

government’s credibility and success in swiftly confronting and combating climate change.

       12.     Undertaking a thorough analysis, as mandated by NEPA, benefits FoE and its

board members, staff, members, and activists in myriad ways. Indeed, each of the harms and

impacts described above has the potential to be alleviated or mitigated by a more thorough

analysis and understanding of the harm that Lease Sale 257 poses. Such analysis will ensure that

federal officials and the general public are aware of, and fully explore potential mitigation or

avoidance measures to address harm from oil and gas operations, including exacerbating the

effects climate change, contamination of waterways, degraded air quality, risk of oil spills, and

harm to both abundant and imperiled wildlife populations. This analysis would allow FoE, its

board members, staff, members, and activists to gain a greater understanding of the various risks

posed by Lease Sale 257—and potentially fossil fuel extraction more broadly—so they can better

advocate for responsible management of our public commons, including by ensuring any new



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fossil fuel leasing is consistent with climate protection, requires adequate royalties, and protects

our natural resources, cultural heritages, and surrounding ecosystems.


         I hereby declare under penalty of perjury that the foregoing declaration is true and

correct.


Dated:          September 10, 2021

                                                       _________________________
                                                       Hallie Templeton




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